86 F.3d 1152
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eric SAMUELS, Plaintiff-Appellant,v.Angela Pickney RUIZ, Hearing Officer;  L. Coburn, CommitteeMember;  Ms. Rockstad, Committee Member;  Ms.Boyd, Committee Member, Defendants-Appellees.
    No. 95-7806.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 16, 1996.Decided May 29, 1996.
    
      D.S.C.
      AFFIRMED.
      Appeal from the United States District Court for the District of South Carolina, at Columbia.   Charles E. Simons, Jr., Senior District Judge.  (CA-94-2524-3-6-BC)
      Eric Samuels, Appellant Pro Se.
      Sandra J. Senn, STUCKEY &amp; KOBROVSKY, Charleston, South Carolina, for Appellees.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Samuels v. Ruiz, No. CA-94-2524-3-6-BC (D.S.C. Oct. 20, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    